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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS

                                                                   C.A. NO. 07-CV-11693-JLT

                                         )
PEDRO LOPEZ; ABEL CANO;                  )
KEVIN SLEDGE; CHARLES DEJESUS;           )
RICHARD BROOKS; ROBERT ALVAREZ;          )
MARISOL NOBREGA; SPENCER TATUM;          )
THE MASSACHUSETTS HISPANIC LAW           )
ENFORCEMENT ASSOCIATION;                 )
INDIVIDUALLY AND ON BEHALF OF A          )
CLASS OF INDIVIDUALS SIMILARLY           )
SITUATED,                                )
     Plaintiff,                          )
                                         )
v.                                       )
                                         )
CITY OF LAWRENCE, MASSACHUSETTS;         )
CITY OF METHUEN, MASSACHUSETTS;          )
COMMONWEALTH OF MASSACHUSETTS;           )
PAUL DIETL, IN HIS CAPACITY AS PERSONNEL )
ADMINISTRATOR FOR THE COMMONWEALTH       )
OF MASSACHUSETTS, HUMAN RESOURCES        )
DIVISION; JOHN MICHAEL SULLIVAN, IN HIS  )
CAPACITY AS MAYOR OF THE CITY OF         )
LAWRENCE, MASSACHUSETTS;                 )
WILLIAM MANZI, III, IN HIS CAPACITY AS   )
MAYOR OF CITY OF METHUEN,                )
MASSACHUSETTS; CITY OF LOWELL,           )
MASSACHUSETTS; WILLIAM F. MARTIN, IN HIS )
CAPACITY AS MAYOR OF THE CITY OF LOWELL )
MASSACHUSETTS; CITY OF WORCESTER,        )
MASSACHUSETTS; AND KONSTANTINA B. LUKES, )
IN HER CAPACITY AS MAYOR OF THE CITY OF  )
WORCESTER, MASSACHUSETTS,                )
      Defendants                         )

                                NOTICE OF APPEARANCE

TO THE CLERK OF THE ABOVE-NAMED COURT:

       Kindly enter my appearance as attorney for Defendants, City of Lowell and William F.

Martin, in his capacity as Mayor of the City of Lowell, in the above-captioned case.
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                                             CITY OF LOWELL AND WILLIAM F. MARTIN,
                                             In His Capacity as Mayor of the City of Lowell,
                                             DEFENDANTS


                                             /s Brian W. Leahey
                                             Brian W. Leahey, Assistant City Solicitor
                                             BBO # 567403
                                             City of Lowell - Law Department
                                             375 Merrimack Street, 3rd Fl.
                                             Lowell MA 01852-5909
                                             Tel: 978-970-4050
                                             Fax: 978-453-1510

                                CERTIFICATE OF SERVICE

       I hereby certify that a true copy of the foregoing document, was filed through the

Electronic Case Filing System for filing and electronic service to the registered participants as

identified on the Notice of Electronic Filing on January 25, 2008


                                             /s Brian W. Leahey
                                             Brian W. Leahey, Assistant City Solicitor




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